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                                UNITED STATES DISTRICT COUT
                                SOUTHERN DISTRICT OF FLORIDA


                                              CASE NO.


   CELEBRITY CRUISES, INC,

         Plaintiff/Petitioner


   vs.



   SLOBODAN DESPOT,

           Defendant/Respondent.



               COMPLAINT AND PETITION TO VACATE ARBITRAL AWARD


         The Petitioner, CELEBRITY CRUISES INTERNATIONAL, by and through its

  undersigned counsel and pursuant to the Convention Act, 9 U.S.C. §203 et seq., hereby

  respectfully petitions the Court to vacate the Arbitral Award entered on June 6, 2019 and as

  grounds therefor, states as follows:

                                          GENERAL ALLEGATIONS


          1.     This Court maintains subject matter jurisdiction, as the action arises under the

  Convention on the Recognition and Enforcement of Foreign Arbitral Awards (the "Convention")

  and the Convention Act. 9 U.S.C. §201 et seq.

         2.      Article V(l)(e) of the Convention explicitly permits proceedings to vacate an

  international arbitral award in the country in which the award was rendered or whose law served

  as governing law for the arbitration.

          3.      The Convention Act of the United States domesticates and implements the terms of

  the Convention into United States statutory law. 9 U.S.C. §201.




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         4.       Sections 203 and 205 of the Convention Act demonstrate congressional intent to

  provide a federal forum for resolving issues implicating the Convention and confer subject matter

  jurisdiction over actions involving awards subject to the Convention.

         5.       Under the Convention and the Convention Act, this Court maintains subject matter

  jurisdiction and sits as a primary jurisdiction for purposes of reviewing the arbitral award.

         6.       Petitioner Celebrity is incorporated in Liberia and maintains its corporate

  headquarters in Miami, Florida.

         7.       Respondent Despot is a native of Croatia and resides in Serbia.

         8.       Celebrity hired Despot as a snack attendant on board the Millenium in 2004 and he

  worked for several Respondent for several consecutive contracts.

         9.       The parties entered an Employment Agreement on January 18, 2015, which

  included a mandatory arbitration provision in the event of any dispute between the parties.

          10.     On July 29, 2015, Celebrity employed Despot as a Maitre D' of the Murano

  Restaurant on board the Celebrity Eclipse.

          11.     Despot claims he sustained a back injury when the vessel's sudden movement

  caused a bread trolley in the pantry to roll, then fell over and struck him in the back.

          12.     Despot received immediate shipboard medical care, disembarked and was

  repatriated. Petitioner arranged for him to receive further medical care.

          13.     Despot alleges that he sustained an upper motor neuron injury that developed into

  central pain syndrome.

          14.     Celebrity conducted a timely investigation into the incident.

          15.     Pursuant to the arbitration provision in the parties' Employment Agreement,

  Despot pursued a claim in arbitration.




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          16.     The parties stipulated to the application of the general maritime law of the United

  States as the substantive governing law for the claim.

         17.      In response to Despot's request for the accident report, Celebrity invoked the work

  product immunity which attaches to such accident reports under established United States law.

         18.      The parties arbitrated the case during twenty days in the interval between June 19,

  2018 and December 17, 2018.1

         19.      During the course of the ongoing arbitration, the Arbitrator solicited funds from

  Despot's counsel to benefit his favorite charity.

         20.      Despot's counsel donated funds in response to the Arbitrator's request, and the

  Arbitrator received notice of his donation.


         21.      Celebrity requested the presiding organization, the International Centre for Dispute

  Resolution ("ICDR"), to recuse the Arbitrator. The ICDR denied the request.

         22.      Thereafter, the Arbitrator issued his Final Award on June 6, 2019, which awarded

  Despot $10,313,210.

         23.      In the Final Award, the Arbitrator drew adverse inferences against Celebrity for

  invoking the work product immunity that attaches to accident reports and photographs taken during

  the investigation of a claim.

         24.       The Arbitrator drew an additional adverse inference against Celebrity after

  concluding Celebrity spoliated the evidence when it did not set aside and maintain the specific

  trolley Despot claims was involved in the accident.




  1 The Final Award, itself, is confidential pursuant to the ICDR arbitration rules. After this
  matter is assigned a case number, Petitioner will move to file the Final Award into the record
  under seal.

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         25.      Celebrity personnel inspected the subject bread trolley after the incident and

  concluded it was in good working order. The bread trolley was re-introduced into the stream of

  operations such that the specific trolley involved could no longer be identified.

         26.      The Arbitrator rendered the Final Award on June 6, 2019 and called for Celebrity

  to pay the award within thirty days thereafter.

         27.      Celebrity timely sought from the ICDR a stay of execution of the award because

  the federal precedent recognizes the parties' right to a three-month period for challenging an

  award. Gonsalvez v. Celebrity Cruises, Inc., 935 F.Supp.2d 1325, 1331 (S.D. Fla. 2013), aff'dby

  750 F.3d 1195 (11th Cir. 2013), rev. denied by 135 S. Ct. 58 (2014).

         28.      This petition is timely filed.

  COUNT I:        PETITION TO VACATE THE ARBITRAL AWARD UNDER THE
                  NEW YORK CONVENTION AND THE CONVENTION ACT


         29.      Petitioner re-alleges and incorporates by reference the allegations contained in

  Paragraphs 1 through 28 above.

         30.      Article V(2)(b) of the Convention provides that a country may refuse recognition

  and enforcement of an award if 'recognition or enforcement of the award would be contrary to the

  public policy of that country.' Convention art. V(2)(b).

         31.      A violation of the forum state's public policy occurs when it violates the forum

  state's "most basic notions of morality and justice."

  The Final Award violates the U.S. entrenched public policy that presumes innocence.

         32.      The United States has an entrenched public policy ensuring due process wherein

  everyone -including corporations - is innocent until proven guilty.

          33.     In the civil context, this entrenched U.S. public policy takes form in the burden of

  proof; it is well-established that the party seeking to recover damages bears the burden of proving

  his claim by a preponderance of the evidence.
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         34.       The Arbitrator's Final Award did not make the requisite findings for spoliation, but

  applied adverse inferences against Celebrity, which violate the fundamental presumption of

  innocence and the entrenched burden of proof. .

         35.       The Final Award employed spoliation grounds against Celebrity to presume fault

  on account of its election to invoke work product immunity protection for the accident report and

  photographs.

         36.       A party's election to invoke the work product immunity cannot trigger the

  application of an adverse inference to shift the burden of proof, penalizing the invoking party.

         37.       The Final Award also drew an adverse inference from Celebrity returning the

  subject bread trolley into normal operations such that it could no longer be specifically identified

  amongst the other trolleys.

         38.       Before applying an adverse inference due to spoliation and shifting the burden of

  proof, United States law requires a list of evidentiary findings, which include bad faith.

         39.       There was no evidence of any bad faith on the part of Celebrity in returning the

  subject bread trolley back into operations after it cleared inspection.

         40.       Despite the absence of the requisite bad faith, the Final Award draws an adverse

  inference regarding the condition of the trolley, and the contents of the accident report and

  photographs, which impermissibly shifted the burden of proof and violated the presumption of

  innocence.


  The Final Award violates the U.S. entrenched public policy of due process before an
  impartial adjudicator.

         41.       The United States recognizes as entrenched public policy a party's indispensable

  right to due process of law before an impartial adjudicator. The United States Supreme Court

  explained that the public policy upholding the public perception of judicial integrity is "a state

  interest of the highest order." Williams-Yulee v. Fla. Bar, 135 S. Ct. 1656 (2015).
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         42.     The adjudicator's direct solicitation to counsel for charitable donations during the

  course of the arbitration impermissibly undermined the impartiality of the system and created the

  appearance of undue influence.

         43.     Despot's attorney contributed toward the adjudicator's impermissible solicitation

  for funds for charity, thereby creating partiality or, at a minimum, the appearance of impropriety

  such that Celebrity's right to an impartial adjudicator was compromised.

         44.     This Court, sitting as a primary jurisdiction under the Convention, properly

  concludes enforcing the arbitral award would violate entrenched public policies of the United

  States, including the presumption of innocence, the burden of proof, and the right to due process

  of law before an impartial adjudicator.

         45.     Petitioner Celebrity requests the Court vacate the June 6, 2019 Final Award.

  COUNT II:      PETITION TO VACATE THE ARBITRAL AWARD UNDER THE
                 FEDERAL ARBITRATION ACT.


         46.     Petitioner re-alleges and incorporates by reference the allegations contained in

  Paragraphs 1 through 28 above.

         47.     The Convention does not provide the exclusive grounds for vacating an

  international or non-domestic arbitration award. A non-domestic arbitral award is also reviewable

  under the Federal Arbitration Act to the extent it does not conflict with the Convention Act. 9


  U.S.C. §208.

         48.     Section 10 of the Federal Arbitration Act vests this Court with the authority to

  vacate an arbitral award where:

                 (1) the award was procured by corruption, fraud or undue means;
                 (2) there was evident partiality or corruption in the arbitrators, or either of them;
                 (3) the arbitrator was guilty of misconduct in refusing to hear evidence pertinent
                 and material to the controversy; or of any other misbehavior by which the rights of
                 any party have been prejudiced; or
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                  (4) the arbitratorexceeded his power or so imperfectly executed them that a mutual,
                  final and definite award upon the subject matter submitted was not made.
  9 U.S.C. §10.

         49.      The Arbitrator's direct solicitation to counsel for charitable funds in the midst of

  this arbitration and the responding contribution by Despot's counsel clearly constitutes "evident

  partiality" and misbehavior resulting in a clear prejudice to Celebrity.

         50.      United States Court precedent, Florida law, the ABA Model Code of Judicial

  Conduct all establish that a judge's solicitation to counsel of a pending matter for funds - even for

  a charitable organization - is not appropriate behavior, constitutes misconduct by introducing

  undue influence into the decision-making process and creates evident partiality.

         51.      The Arbitrator erroneously penalized Respondent for invoking the established work

  product immunity, which clearly prejudiced Celebrity's rights.

         52.      The Final Award reflects evident partiality and an improper penalty to Respondent

  for invoking the established work product immunity; these findings clearly result in a material

  prejudice to Celebrity.

         53.      Celebrity requests the Court to vacate the Final Award pursuant to the FAA.

         WHEREFORE, Defendant hereby respectfully requests the Court enter an Order vacating

  the Final Award.



  Dated: July 12,2019
         Miami, Florida




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                                                    Respectfully submitted,

                                                    /s/ Stephanie H. Wvlie
                                                    David J. Horr
                                                    Florida Bar No.: 310761
                                                    dhorr@admiral-law.com
                                                    Stephanie H. Wylie
                                                    Florida Bar No.: 130140
                                                    swvlic(o)admiral-la\v.com
                                                    Juan Carlos Perez
                                                    Florida Bar No.: 91581
                                                    iperez@admiral-law.com
                                                    HORR, NOVAK & SKIPP, P.A.
                                                    Two Datran Center, Suite 1700
                                                    9130 South Dadeland Boulevard
                                                    Miami, FL 33156
                                                    Telephone: (305) 670-2525
                                                    Facsimile: (305) 672-2526
                                                    Attorneysfor Petitioner


                                      CERTIFICATE OF SERVICE


              WE HEREBY CERTIFY that on July 12, 2019, we electronically filed the foregoing
  document with the Clerk ofthe Court using CM/ECF. We also certify that the foregoing document
  is being served this day on all counsel of record or pro se parties identified on the attached Service
  List in the manner specified, either via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to receive electronic Notices of Electronic Filing.


                                                    /s/ Stephanie H. Wvlie
                                                    Stephanie H. Wylie
                                                    Florida Bar No.: 130140
                                                    Attorneysfor Petitioner
  /l 472493




                                            HORR, NOVAK & SKIPP, P.A.
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                                          SERVICE LIST


   David J. Horr                                       John H. Hickey
   Florida Bar No.: 310761                             Florida Bar No.: 305081
   dhorr@admiral-law.com                               hickev@hickevlawfirm.com;
   Stephanie H. Wylie                                  Sarah A. Lobel
   Florida Bar No.: 130140                             Florida Bar No.: 88716
   swvlie(5),admiral-law.com                           slobcl@hickevlawi1rm.com
   Juan Carlos Perez                                   HICKEY LAW FIRM, P.A.
   Florida Bar No.: 91581                              1401 Brickell Avenue, Suite 510
   iDerez@admiral-law.com                              Miami, FL 33131-3501
   HORR, NOVAK & SKIPP, P.A.                           Telephone: (305) 371-8000
   Two Datran Center, Suite 1700                       Facsimile: (305) 371-3542
   9130 South Dadeland Boulevard                       Attorneysfor Respondent
   Miami, FL 33156
   Telephone: (305) 670-2525
   Facsimile: (305) 672-2526
   Attorneys for Petitioner




                                       HORR, NOVAK & SKIPP, P.A.
             TWO DATRAN CENTER, SUITE 1700-9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
